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ND f~~1-. 9 UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

        ie ~ 350 West 1st Street, Los Angeles, CA 90012

        is Case No.: [Insert Case Number]

        i2 Don Macallister, Founder of Vehicle BNB Inc., Pro Se Plaintiff
        13 V.
        is Defendants:

       is    . City of Los Angeles
       16    • Los Angeles Homeless Services Authority(LAHSA)
       i7    • California Department of Housing &Community Development(HCD)
       i8    • Gustavo Velasquez, Director, CA Housing Department
       19    . Los Angeles County Board of Supervisors
       2e    • California Governor Gavin Newsom
       zi    • U.S. Department of Housing &Urban Development(HUD)—Regional Office
       22    • HUD Secretary Adrienne Todman

        23



       ~4 PRO SE COMPLAINT AND DEMAND FOR EMERGENCY
       zSRELIEF
       261. INTRODUCTION: A CRISIS IGNORED, A DUTY BETRAYED

       2z Defendants have willfully ignored, misrepresented, and excluded a faster, safer, lower-cost
       za housing solution—Vehicle BNB Inc.—which could immediately provide shelter to thousands of
       29 unhoused individuals, wildfire victims, veterans, and families.
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ae While Los Angeles collapses under a homelessness crisis and wildfires leave thousands more
si without shelter, Defendants have knowingly blocked an immediate, scalable private-sector
sz solution in favor of slow, bloated, billion-dollar projects that have failed for decades.

ss Plaintiff Don Macallister, Founder of Vehicle BNB Inc., brings this lawsuit to hold public officials
3a accountable for:
35 Q Their failure to act in good faith
36 Q Their exclusion of superior private-sector solutions
s~ Q The financial harm inflicted on taxpayers due to their refusal to evaluate proven alternatives

ae II. THE CORE LEGAL QUESTIONS BEFORE THE COURT

s9 This case presents a critical legal question:

ae    1. Do Defendants have a legal duty to fairly evaluate all viable, proven solutions—including
as       private-sector alternatives like Vehicle BNB~n an equal basis with government-backed
a2       programs?
as    2. Does the refusal to consider a viable solution constitute gross negligence and breach of
as       duty?
as    3. Should taxpayer dollars continue funding projects that cost up to $837K per unit while
ab       Vehicle BNB offers emergency housing for a fraction of the cost—deployed within 30
a7       days?

48 D Thousands of lives hang in the balance. The Court must answer.


49


se III. JURISDICTION &VENUE

si Jurisdiction is proper under 28 U.S.C. § 1331, as this case raises federal questions regarding
s2 the misallocation of federal housing funds.
s3 Venue is appropriate in the Central District of California, where this crisis is unfolding.

54



551V.   FACTUAL ALLEGATIONS
s61. Plaintiff's Background &Expertise

s7   • Founder 8~ CEO of Vehicle BNB Inc.
sa   • U.S. Congressional Tribute Honoree
59   . Lived Experience Overcoming Homelessness —• Now leading a proven, scalable
be     housing solution
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6~ 2. The Urgent Crisis Defendants Are Ignoring

62 ~ California's homeless population has surpassed 200,000 despite record taxpayer spending
63 D Wildfires have left thousands newly homeless
64 D Los Angeles' $36 homelessness settlement has collapsed
65 D The Supreme Court has ruled cities must clear encampments
66 D Yet Defendants are blocking an immediate, lower-cost solution—leaving people to suffer


67 3. Vehicle BNB: The Immediate Solution Officials Are Blocking

bs Vehicle BNB deploys climate-controlled Tesla Model 3 units as dignified emergency housing
~9 with:
7e ~ WiFi, showers, restrooms
7i o/ Rapid deployment—ready within 30 days
~2 d Tracked success metrics: Cost per guest per night, number housed per night
~s ~ A fraction of the cost of failed government projects

7a 4. The Numbers Don't Lie: Cost Per Guest, Per Night
            Model          Cost Per Night    Total Monthly Cost    Upfront Cost      Deployment
                           (Per Person)        (100 Guests)                             Time

     Vehicle BNB (Testa    $83.33            $250,000             $25,000          30 Days
     U nits)

     Traditional Housing   $141.67           $425,000             $50M ($500K      5+ Years
     (100 Units)                                                  per unit)


7s D Vehicle BNB is ready NOW.
~6 D Defendants' plan takes 5+ years.
~7 D Every day of inaction =more suffering, more waste.

~s

~9 V. DEFENDANTS' BREACH OF DUTY &PUBLIC MISMANAGEMENT

se Despite their public commitment to solving homelessness, Defendants have:
sl ~ Refused to engage with private-sector alternatives like Vehicle BNB
sz X Continued funding bloated government projects costing up to $837K per unit
sa ~ Ignored wildfire victims and left families on the streets

sa D State auditors found that California has failed to track the effectiveness of billions in
ss homeless funding. This further supports the claim that Defendants are mismanaging public
sb resources and excluding more effective solutions.
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s8 VI. PLAINTIFF'S REPEATED ATTEMPTS TO ENGAGE OFFICIALS

s90 Sept. 13, 2024 —Filed Friend of the Court Brief —> Ignored.
90 0 Sept. 20, 2024 —Contacted CA Attorney General Rob Bonta ~ No response.
9i 0 Sept. 29, 2024 —Contacted State Housing Director Gustavo Velasquez ~ No follow-up.
9z 0 Oct. 12, 2024 —Proposal to LA County Supervisor Lindsey Horvath —> Ignored.
93 ~ Sept. 9, 2024 —Spoke with Matthew Umhofer, lead attorney for LA Alliance —>
9a Acknowledged, but stalled.

95 D This is not negligence—it is a deliberate blockade.


96


9z VI I. CAUSES OF ACTION

9s Count 1: Violation of Duty &Misrepresentation

 99 Defendants falsely portray slow, expensive projects as the only solution while ignoring faster,
se0lower-cost alternatives like Vehicle BNB.

sei Count 2: Gross Negligence &Financial Harm to Taxpayers

ie2 By refusing to consider a proven, cost-effective alternative, Defendants' actions have directly
ses cost taxpayers billions while leaving vulnerable populations without shelter.

ieaCount 3: Equal Protection Violation (14th Amendment)

iesBy excluding private-sector solutions and favoring government-backed projects, Defendants
seb have arbitrarily denied equal opportunity to innovative alternatives.

107


~esVlll. RELIEF SOUGHT

ie9 ~ Plaintiff demands:
iie Q Public Disclosure 8~ Evaluation of Vehicle BNB as an equal alternative to traditional housing.
sis Q Acourt-ordered injunction requiring Los Angeles to evaluate and pilot Vehicle BNB
sizimmediately.
113 Q $2 Billion in Damages:
sia ♦ $1 B for blocking Vehicle BNB from entering the market
115 ♦ $1 B for financial harm to taxpayers due to failed government policies
sib Q A Federal Audit of all homelessness funds spent in California since 2020.

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~~sIX. CONCLUSION: THE COURT MUST ACT

ii9 D Wildfire victims are sleeping on sidewalks.
i2e D Veterans remain in encampments.
i2i D Taxpayers foot the bill for wasteful, ineffective projects.
izz Q Vehicle BNB could be housing thousands RIGHT NOW—but officials refuse to act.

izaThe Court must intervene and hold Defendants accountable before more lives are lost.

iza Dated: [Insert Date] r~1~-~ ~ ~j~, 2~ ~ ~
szs Respectfully submitted,         ~~q`~     ^
1z6 Don Macallister, Pro Se Plainti
12~ ~ Founder &CEO, Vehicle BNB Inc.
its ~. 310-924-1303 ~ Q VehBnb.com

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